Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 1 of 10 PageID: 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JASON FETTER                                   §
     Plaintiff,                                §
                                               §
V.                                             §    CIVIL ACTION NO. 4:13-cv-2171
                                               §
MAERSK LINE, LIMITED                           §
    Defendant.                                 §

                                     NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       PLEASE TAKE NOTICE that Defendant, Maersk Line, Limited (hereinafter “MLL”

or “Defendant”), files this Notice of Removal of this action from the 133rd Judicial District

Court of Harris County, Texas, to the United States District Court for the Southern District of

Texas, Houston Division, the District and Division encompassing the place where the state court

is located. This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1332, 1441, and 1446; and,

in the alternative, 28 U.S.C. § 1333. In support thereof, MLL would respectfully show this Court

as follows:

                                             I.
                                       INTRODUCTION

       1.     On June 11, 2013, Plaintiff Jason Fetter (hereinafter “Fetter”) commenced an

action against MLL in the 133rd Judicial District Court of Harris County, Texas, entitled “Jason

Fetter v. Maersk Line, Limited” (hereinafter the “Original Petition”) pending as Cause No. 2013-

34787 (the “State Court Action”). MLL received Fetter’s Original Petition by delivery to its

registered agent on June 28, 2013.

       2.     Accordingly, this Notice of Removal is timely filed under Section 1446(b) of

Title 28 of the United States Code because MLL received Fetter’s Original Petition on or about
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 2 of 10 PageID: 2




June 28, 2013. This Notice of Removal is filed within 30 days of receipt of Fetter’s Original

Petition and within one year of the commencement of the action, so that it is timely filed under

28 U.S.C. § 1446(b); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999)

(holding that the 30-day deadline to remove begins on the date the summons or citation is served,

even if the complaint is received at a prior date).

                                           II.
                                    FACTUAL BACKGROUND

         3.      On or about October 9, 2012, Fetter was working aboard the M/V MAERSK

MONTANA (hereinafter the “MONTANA”), which is owned, operated, and/or managed by

MLL. (See Exhibit A, Plaintiff’s Original Petition at ¶ 6). At the time of the alleged incident,

the vessel was deployed on navigable waters. (Id.).

         4.      In his Petition, Fetter alleges he was “working on the engine [of the MONTANA]

with others when a chain snapped, recoiled and violently struck [his] face, neck, and shoulder.”

(Id.).   Fetter alleges he suffered injuries to “his face (including multiple fractures, a large

laceration, and permanent nerve damage), neck, and shoulder, and other parts of his body” as a

result of the alleged incident.

         5.      Fetter alleges negligence and negligence per se of MLL and unseaworthiness of

the MONTANA. (Id. at ¶¶ 7-8). Fetter alleges his causes of action arise under the common law

of Texas and the general maritime law. (Id. at ¶ 9).

         6.      Fetter resides in the State of New York. (Id. at ¶ 4).

         7.      MLL is a Delaware corporation. (Id. at ¶ 5). MLL’s principal place of business,

main office, and “nerve center” is located at One Commercial Place, Norfolk, Virginia 23510.

(Exhibit B, Declaration of Lina Fennig).




59069:30012492                                     2
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 3 of 10 PageID: 3




                                        III.
                    BASIS FOR REMOVAL – DIVERSITY JURISDICTION

        8.       This case is removable because Fetter and MLL are from different states, there is

complete diversity of citizenship, the amount in controversy is greater than $75,000, exclusive of

interests and costs, and MLL is not a citizen of the State of Texas. 28 U.S.C. §§ 1332(a);

1441(b)(2). This Court would have had subject matter jurisdiction over this action under the

provisions of 28 U.S.C. § 1332 if the action had originally been brought in federal court.

Removal is, therefore, proper under 28 U.S.C. § 1441(b).

        9.       To be sure, diversity jurisdiction exists in a civil matter when the amount in

controversy exceeds $75,000, exclusive of interests and costs, and the dispute is between citizens

of different states. 28 U.S.C. § 1332. As long as none “of the parties in interest properly joined

as defendants is a citizen of the State in which such action is brought”, the action may be

removed. 28 U.S.C. § 1441(b). Because both of the requirements for subject matter jurisdiction

are met in this case, and MLL is not a citizen of the State of Texas, removal is proper.

A.      The Amount in Controversy Exceeds $75,000

        10.      The amount in controversy in this action exceeds $75,000, exclusive of interests

and costs, as required by 28 U.S.C. § 1332(a). By order dated February 12, 2013 (effective

March 1, 2013), Texas Rule of Civil Procedure 47(b), which addresses specificity of pleading

claims for relief, was amended to require a more specific statement of the relief sought by a

party. See TEX. R. CIV. P. 47(b); Mumfrey v. CVS Pharmacy, Inc., --- F.3d ---, 2013 WL

2476402, at *4 n.9 (5th Cir. June 10, 2013) (electronically published cases are attached as

Exhibit C). Although Fetter failed to comply with the amended text of Rule 47 1, which now



1
 Because Fetter filed his Original Petition and Jury Demand on June 11, 2013, it falls within the ambit of revised
Rule 47, which went into effect on March 1, 2013. See Tex. Sup. Ct. Order, Misc. Docket No. 13-9022 (eff. Mar. 1,


59069:30012492                                          3
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 4 of 10 PageID: 4




requires a party to identify the quantum of relief requested in the body of its original petition, the

damages sought by Fetter make clear he seeks relief greater than the jurisdictional minimum of

this Court.

        11.      Fetter claims in his Original Petition that he was injured after being struck by a

chain while working aboard the MONTANA “[w]hile the vessel was deployed on navigable

waters.” (Exhibit A, at ¶ 6).          Specifically, Fetter alleges he suffered injuries to “his face

(including multiple fractures, a large laceration, and permanent nerve damage), neck, and

shoulder, and other parts of his body” as a result of the alleged incident. (Id. at ¶ 6). “As a result

of… [the alleged] occurrences,” Fetter claims he has “sustained severe injuries to his body,

which resulted in physical pain, mental anguish, and other medical problems.” (Id. at ¶ 9). He

allegedly “has sustained severe pain, physical impairment, discomfort, mental anguish, and

distress.” (Id.). “In all reasonable probability,” it is alleged that Fetter’s “physical pain, physical

impairment and mental anguish will continue indefinitely.” (Id.). Fetter also claims “a loss of

earnings in the past, as well as a loss of future earning capacity.” (Id.). He also alleges he “has

incurred and will incur pharmaceutical and medical expenses in connection with his injuries.”

(Id.). In sum, Fetter claims, he “has been damaged in a sum far in excess of the minimum

jurisdictional limits of the” Texas state court. (Id.).

        12.      When it is “facially apparent” from a plaintiff’s petition that the claimed damages

exceed $75,000, removal is proper, even if the plaintiff fails to specifically plead the amount of

relief requested. See Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883 (5th Cir. 2000). In

Gebbia, the Fifth Circuit affirmed the denial of a motion to remand to Louisiana state court

where the plaintiff sought damages for “medical expenses, physical pain and suffering, mental


2013). Fetter additionally failed to comply with the new rules by filing an incorrect Civil Case Information Sheet.
(Exhibit D, State Court Action Civil Case Information Sheet).


59069:30012492                                          4
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 5 of 10 PageID: 5




anguish and suffering, loss of enjoyment of life, loss of wages and earning capacity, and

permanaent disability and disfigurement.” Id. Although the amount of damages sought was not

specifically pleaded, it was “facially apparent” that the original petition claimed damages in

excess of the jurisdictional minimum. Id. Accordingly, this Court may find the jurisdictional

requirement is met because it is “facially apparent” that the damages and injuries alleged in

Fetter’s Original Petition exceed the $75,000 jurisdictional minimum of this Court.

B.     Diversity of Citizenship Exists

       13.       There is complete diversity between the parties. At the time Fetter filed his

Original Petition, and at the time of removal, Fetter was and is a resident citizen of the State of

New York. (Exhibit A, at ¶ 4). For purposes of diversity, an individual is a citizen of the state of

his domicile, which is the place of his true, fixed, and permanent home and principal

establishment, to which he has the intention of returning home whenever he is absent therefrom.

See Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954).

       14.       At the time Fetter filed his Original Petition, and at the time of removal, MLL was

and is a Delaware corporation with its headquarters and principal place of business in Norfolk,

Virginia. (See Exhibit A, at ¶ 5; Exhibit B); 28 U.S.C. § 1332(c) (discussing that a corporation

is a citizen of the state in which it was incorporated and the state in which it has its principal

place of business).      A corporation’s principal place of business is the place where the

corporation’s high-level officers direct, control, and coordinate the corporation’s activities. Hertz

Corp. v. Friend, 130 S.Ct. 1181, 1192 (2010). This place is often referred to as the corporation’s

“nerve center”. Id. The nerve center will usually be the state where the corporation has its

headquarters. Id. Accordingly, MLL is a citizen of the states of Delaware and Virginia for

diversity jurisdiction purposes. See 28 U.S.C. § 1332(c).




59069:30012492                                    5
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 6 of 10 PageID: 6




C.     No Bar to Removal

       15.       Fetter did not allege any claims arising under the Jones Act. Accordingly, he

cannot claim the statutory bar to removal contained in the Jones Act, and there is no other

impediment to removal.

       16.       To the extent Fetter’s claims are construed to state a cause of action under the

Jones Act, which is denied, there is no basis for the allegation of Jones Act status. Any such

allegation would be for the purpose of preventing removal, but a Jones Act case may be removed

when the allegations are made merely in an attempt to frustrate federal jurisdiction. Holmes v.

Atl. Sounding Co., 437 F.3d 441, 445 (5th Cir. 2006); Burchett v. Cargill, Inc., 48 F.3d 173, 175-

76 (5th Cir. 1995); Lackey v. Atl. Richfield Co., 990 F.2d 202, 207 (5th Cir. 1993). To be sure,

Fetter cannot satisfy the test laid down in Chandris v. Latsis, 515 U.S. 347, 368 (1995), to

qualify as a seaman—a necessary predicate to maintain a cause of action under the Jones Act.

Hufnagel v. Omega Serv. Indus., Inc., 182 F.3d 340, 345-46 (5th Cir. 1999).

       17.       Because Fetter has not alleged, and regardless, could not maintain any cause of

action under the Jones Act because Fetter is not a seaman, the statutory bar to removal contained

in the Jones Act is inapplicable.

       18.       Furthermore, because MLL is not a citizen of the State of Texas, see supra ¶¶ 7,

14, no statutory bar to removal exists pursuant to 28 U.S.C. § 1441(b)(2). No other statutory bar

to removal is implicated by Fetter’s Original Petition.

                                 IV.
         ALTERNATE BASIS FOR REMOVAL – ADMIRALTY JURISDICTION

       19.       Subject to, and without waiving the foregoing basis for removal, and in the

alternative, this Court has original jurisdiction over Fetter’s claims against MLL pursuant to

admiralty and maritime law. See 28 U.S.C. §1333(1). Even if MLL is a citizen of the state of



59069:30012492                                   6
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 7 of 10 PageID: 7




Texas, which is denied, this case is still removable. Id.; see also Ryan v. Hercules Offshore, Inc.,

--- F. Supp. 2d ---, 2013 WL 1967315, at *1 (S.D. Tex. May 13, 2013) (Exhibit C); Wells v.

Abe's Boat Rentals Inc., 2013 WL 3110322, at *2-4 (S.D. Tex. June 18, 2013) (slip copy)

(Exhibit C).

A.     This Court has Original Jurisdiction Over Fetter’s Claims

       20.       As shown above, Fetter brings a claim for an alleged maritime tort occurring on

navigable waters and having a substantial relationship to a traditional maritime activity. See

supra ¶¶ 3-5. Federal admiralty jurisdiction flows from the Constitution, which extends federal

judicial power “to all cases of admiralty and maritime jurisdiction.” Roth v. Kiewit Offshore

Servs., 625 F. Supp. 2d 376, 383 (S.D. Tex. 2008) (citing U.S. Const., art. III, § 2). Congress

gave the district courts original jurisdiction over any civil case of admiralty and maritime

jurisdiction. See 28 U.S.C. 1333(1); see also Roth, 625 F. Supp. at 383; Ryan, --- F. Supp. 2d ---,

2013 WL 1967315, at *1; Abe’s Boat, 2013 WL 3110322, at *2-4. Fetter’s allegations entail

alleged acts of negligence and unseaworthiness on a “vessel [while] deployed on navigable

waters”. (See Exhibit A, at ¶ 6); see also supra ¶¶ 3-5. Fetter further admits his causes of action

are based in the general maritime law. (Exhibit A, at ¶ 1). The federal district courts accordingly

have original jurisdiction over his the claims in this suit.

B.      This Action Can Be Removed Because the District Court Has Original Jurisdiction
        and There is No Impediment to Removal

        21.      The removal of claims is permitted when the United States District Courts have

original jurisdiction and removal is not otherwise prohibited by Act of Congress. See 28 U.S.C. §

1441(a).

        22.      Because Plaintiff has no claim under the Jones Act or other allegations that might

entail a statutory bar to removal, and because this Court has original jurisdiction over all of the



59069:30012492                                     7
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 8 of 10 PageID: 8




claims raised, this suit is properly removed pursuant to 28 U.S.C. § 1441(a). See Ryan v., ---

F.Supp.2d ---, 2013 WL 1967315, at *6 (concluding that Plaintiff’s motion to remand must be

denied because “all of Plaintiff’s claims are admiralty claims over which a federal district court

has original jurisdiction and the revised removal statute does not limit removal of these

claims….”); Abe’s Boat, 2013 WL 3110322, at *3 (“The Ryan court’s analysis of the effect of

the amended version of the removal statute is consistent with the case law analyzed. If the

claims… are viewed as general maritime claims, they are removable.”).

                                              V.
                                ADDITIONAL PROCEDURAL MATTERS

A.          Proper Federal District Court

            23.      The 133rd Judicial District Court of Harris County, Texas is located within the

Southern District of Texas, Houston Division. Consequently, pursuant to 28 U.S.C. § 1441, this

action is properly removed to this Court.

B.          State Court Documents Attached

            24.      This Notice of Removal is accompanied by the following documents:

       i.         All executed process in this case (Exhibit E-1);

      ii.         All pleadings asserting causes of action, e.g., petitions, counterclaims, cross actions,
                  third-party actions, interventions, and all answers to such pleadings (Exhibit E-2);

     iii.         The state court docket sheet (Exhibit E-3);

     iv.          An index of matters being filed (Exhibit E-4); and

      v.          A list of all counsel of record, including addresses, telephone numbers, and parties
                  represented (Exhibit Exhibit E-5).

C.          Consent of All Defendants

            25.      MLL consents to removal; MLL is the only defendant in this case.




59069:30012492                                         8
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 9 of 10 PageID: 9




D.     Notice

       26.       Upon filing this Notice of Removal, MLL will provide written notification to

Fetter and will file a Notification of Removal, attaching a copy of this Notice of Removal, with

the Clerk for the 133rd Judicial District Court of Harris County, Texas.

E.     Jury Demand

       27.       Fetter has made a jury demand in state court.


                                               V.
                                             PRAYER

       For the foregoing reasons, Defendant Maersk Line, Limited prays that this action against

it, pending in the 133rd Judicial District Court of Harris County, Texas and bearing civil action

number 2013-34787, be removed forthwith to this Honorable Court.


                                       Respectfully submitted,


                                       By: /S/ James Patrick Cooney
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59069:30012492                                    9
Case 2:14-cv-02108-KSH-CLW Document 1 Filed 07/25/13 Page 10 of 10 PageID: 10




                               CERTIFICATE OF SERVICE

        I hereby certify that on this the 25th day of July, 2013, a true and correct copy of the
foregoing was served upon all counsel of record as listed below via the means indicated below,
as follows:

                              VIA FACSIMILE: (713) 222-3850
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59069:30012492                                10
